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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ARCOP, INC.,                                     Case No: 1:22-cv-02121

               Plaintiff,
v.

TYSON FOODS, INC.; TYSON CHICKEN,                 Jury Trial Demanded
                                                  (Related to In re Broiler Chicken
INC.; TYSON BREEDERS, INC.; TYSON
                                                  Antitrust Litigation – Case No.
POULTRY, INC.; PILGRIM’S PRIDE
                                                  1:16-cv-08637)
CORPORATION; KOCH FOODS, INC.; JCG
FOODS OF ALABAMA, LLC; JCG FOODS
OF GEORGIA, LLC; KOCH MEAT CO., INC.;
SANDERSON FARMS, INC.; SANDERSON
FARMS, INC. (FOOD DIVISION);
SANDERSON FARMS, INC. (PRODUCTION
DIVISION); SANDERSON FARMS, INC.
(PROCESSING DIVISION); HOUSE OF
RAEFORD FARMS, INC.; MAR-JAC
POULTRY, INC.; PERDUE FARMS, INC.;
PERDUE FOODS, LLC; WAYNE FARMS,
LLC; FIELDALE FARMS CORPORATION;
GEORGE’S, INC.; GEORGE’S FARMS, INC.;
SIMMONS FOODS, INC.; SIMMONS
PREPARED FOODS, INC.; O.K. FOODS,
INC.; O.K. FARMS, INC.; O.K. INDUSTRIES,
INC.; PECO FOODS, INC.; HARRISON
POULTRY, INC.; FOSTER FARMS, LLC;
FOSTER POULTRY FARMS; CLAXTON
POULTRY FARMS, INC.; MOUNTAIRE
FARMS, INC.; MOUNTAIRE FARMS, LLC;
MOUNTAIRE FARMS OF DELAWARE, INC.;
AGRI STATS, INC.; AMICK FARMS, LLC;
CASE FOODS, INC.; CASE FARMS, LLC;
CASE FARMS PROCESSING, INC.;
KEYSTONE FOODS LLC; EQUITY GROUP
EUFAULA DIVISION, LLC; EQUITY GROUP
KENTUCKY DIVISION LLC; and EQUITY
GROUP-GEORGIA DIVISION LLC,

              Defendants.




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                      COMPLAINT AND DEMAND FOR JURY TRIAL

        1.     Plaintiff ARCOP, Inc. (“ARCOP” or “Plaintiff”) is an Ohio not-for-profit

corporation with its headquarters in Atlanta, Georgia. ARCOP is the national supply chain

cooperative for Arby’s franchised and company-owned restaurants.

        2.     During the relevant time period, ARCOP negotiated and contracted with

Defendants for the production and supply of Broilers. ARCOP also utilized distributors to supply

its restaurants with Broilers purchased on their behalf pursuant to these negotiations and contracts.

These distributors include Performance Food Group, Inc. and its affiliated entities (“PFG”),

Shamrock Foods (“Shamrock”), I Supply Co. (“I Supply”) and Willow Run Foods, Inc.

(“Willow”), who have each assigned their claims arising out of these transactions to ARCOP.

        3.     ARCOP brings this action on its own behalf, and as assignee of PFG, Shamrock, I

Supply and Willow and their affiliates (collectively, “Assignors”). The references in this

Complaint to “ARCOP” and/or “Plaintiff” include ARCOP’s Assignors.

        4.     During the time period relevant to ARCOP’s claims, ARCOP and/or its Assignors

directly purchased Broilers in the United States from Defendants and/or their co-conspirators, and

sustained injury and damages as a proximate result of the antitrust violations and other unlawful

activities alleged in this Complaint.

        5.     ARCOP brings this action for damages under the federal antitrust laws against the

defendants identified below, and incorporates by reference Track 2 Direct Action Plaintiffs’

Second Amended Consolidated Complaint and Demand for Jury Trial [ECF Nos. 5455, 5456],

filed in In re Broiler Chicken Antitrust Litigation, 1:16-cv-08637 (N.D. Ill.) on February 28, 2022.1


1
 Pursuant to the Court’s Orders in In re Broiler Chicken Antitrust Litig., 1:16-cv-08637, the Direct
Action Plaintiffs now encompass two Tracks – Track 1 includes Direct Action Plaintiffs who filed
a stipulation to proceed to Trial on Track 1 prior to the January 7, 2022 deadline, while Track 2
DAPs include the other Direct Action Plaintiffs who filed a stipulation to proceed to Trial on Track

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             6.     ARCOP joins Section II of the Track 2 Direct Action Plaintiffs’ Second Amended

   Consolidated Complaint and Demand for Jury Trial [ECF Nos. 5455, 5456], adding the following

   to specify ARCOP’s causes of action and the Defendants and Co-Conspirators in ARCOP’s action.

 Plaintiff Name    Operative Complaint      Named Defendants         Named Co-                Causes of Action
                      (Reference is to       (Not Previously      Conspirators (if any)
                     Sealed Version, if        Dismissed) 2
                        applicable)

ARCOP Inc.        To Be Determined         Agri Stats; Case;     Allen Harim; Amick;      Count 1 (Sherman Act
                                           Claxton; Fieldale                              Claim for all
                                           Farms; Foster Farms;                           Anticompetitive Conduct);
                                           George’s;                                      Count 2 (Sherman Act
                                           Harrison; House of                             Claim for Output
                                           Raeford; Keystone                              Restriction); Count 3
                                           Foods; Koch; Mar-Jac;                          (Sherman Act Claim for
                                           Mountaire Farms;                               GA Dock Manipulation);
                                           O.K. Foods; Peco;                              Count 5 (Sherman Act
                                           Perdue; Pilgrim’s                              Claim for Bid Rigging):
                                           Pride; Sanderson                               Count 6 (Sherman Act
                                           Farms; Simmons;                                Claim for Price Fixing)
                                           Tyson; Wayne Farms



                                          PRAYER FOR RELIEF

             WHEREFORE, Plaintiff respectfully requests that the Court:

             A.     Enter joint and several judgments against all Defendants in favor of Plaintiff;




   2. [ECF No. 5305, 5334]. On February 28, 2022, pursuant to the Court’s Order, Track 2 Direct
   Action Plaintiffs filed a second amended consolidated complaint that “will be the operative
   complaint for Track Two DAPs” [ECF Nos. 5305, 5427]. In an effort to promote efficiency given
   the Court’s reference to similar abbreviated Complaints as helpful to the Court [ECF No. 4139],
   Plaintiff files this abbreviated pleading that incorporates by reference and adopts the allegations
   set forth in Track 2 Direct Action Plaintiffs’ Second Amended Consolidated Complaint and
   Demand for Jury Trial. If the Court prefers a different form or process, Plaintiff will withdraw
   this pleading and proceed according to the Court’s direction.
   2
     Shamrock opted out of the Direct Purchaser class settlements with Pilgrim’s, Tyson, Fieldale
   Farms, George’s, and Peco, and subsequently assigned to ARCOP those claim rights arising out
   of purchases for ARCOP. PFG opted out of the Direct Purchaser class settlement with Fieldale
   Farms, and subsequently assigned to ARCOP those claim rights arising out of purchases for
   ARCOP.

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        B.      Award Plaintiff damages in an amount to be determined at trial to the maximum

extent allowed under federal antitrust laws, and enter a joint and several judgment in favor of

Plaintiff against Defendants in an amount to be trebled to the extent such laws permit;

        C.      Award Plaintiff its post-judgment interest as provided by law, with such interest to

be awarded at the highest legal rate;

        D.      Award Plaintiff its attorneys’ fees, litigation expenses, and costs, as provided by

law; and

        E.      Grant Plaintiff such other and further relief that the Court may deem just and proper.

                                         JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury on all

issues so triable.

Dated: April 25, 2022


                                          By: /s/David B. Esau
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